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                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     STATE OF WASHINGTON; STATE OF                        NO. 2:25-CV-00127
10   ARIZONA; STATE OF ILLINOIS; and
     STATE OF OREGON,                                     [PROPOSED] TEMPORARY
11                                                        RESTRAINING ORDER
                               Plaintiffs,
12
        v.
13
     DONALD TRUMP, in his official capacity
14   as President of the United States; U.S.
     DEPARTMENT OF HOMELAND
15   SECURITY; BENJAMINE HUFFMAN, in
     his official capacity as Acting Secretary of
16   Homeland Security; U.S. SOCIAL
     SECURITY ADMINISTRATION;
17   MICHELLE KING, in her official capacity
     as Acting Commissioner of the Social
18   Security Administration; U.S.
     DEPARTMETN OF STATE; MARCO
19   RUBIO, in his official capacity as Secretary
     of State; U.S. DEPARTMENT OF
20   HEALTH AND HUMAN SERVICES;
     DOROTHY FINK, in her official capacity
21   as Acting Secretary of Health and Human
     Services; U.S. DEPARTMENT OF
22   JUSTICE; JAMES MCHENRY, in his
     official capacity as Acting Attorney
23   General; U.S. DEPARTMENT OF
     AGRICULTURE, GARY WASHINGTON,
24   in his official capacity as Acting Secretary
     of Agriculture; and the UNITED STATES
25   OF AMERICA,
26                             Defendants.


     [PROPOSED] TEMPORARY                             1            ATTORNEY GENERAL OF WASHINGTON
                                                                            Civil Rights Division
     RESTRAINING ORDER                                                  800 Fifth Avenue, Suite 2000
     CASE NO. 2:25-CV-00127                                                 Seattle, WA 98104
                                                                               (206) 464-7744
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 1                                            I.      INTRODUCTION
 2             This matter came before the Court on the emergency Motion for a Temporary Restraining
 3   Order filed by the States of Washington, Arizona, Illinois, and Oregon (Plaintiff States). The
 4   Plaintiff States challenge an Executive Order issued January 20, 2025, by President Trump,
 5   entitled “Protecting the Meaning and Value of American Citizenship.” Having considered the
 6   motion, Defendants’ response, if any, and the argument of the parties, if any, the Court GRANTS
 7   the Plaintiff States’ emergency motion for a 14-day Temporary Restraining Order effective at
 8   12:01am on January __, 2025. The Court enters the following findings of fact and conclusions
 9   of law.
10                                      II.          FINDINGS OF FACTS
11             1.      Plaintiff States took the following steps to provide sufficient notice to
12   Defendants:
13                  a. In advance of filing, on the morning of January 21, 2025, called the office of the
14                     United States Attorney for the Western District of Washington and emailed the
15                     United States Attorney for the Western District of Washington and the Chief of
16                     the Civil Division, to notify the office of Plaintiffs States’ intention to file the
17                     complaint and motion in the near term.
18                  b. Once filed, provided a copy by hand delivery and email of the complaint, motion,
19                     declarations, and exhibits to the United States Attorney’s Office for the Western
20                     District of Washington;
21                  c. Sent a copy of the same by certified mail to the Attorney General of the United
22                     States in Washington D.C.
23             2.      Plaintiff States face irreparable injury as a result of the signing and
24   implementation of Executive Order. The Order harms the Plaintiff States directly by forcing state
25   agencies to lose federal funding and incur substantial costs to provide essential and legally
26   required medical care and social services to resident children subject to the Order. Plaintiff


     [PROPOSED] TEMPORARY                                   2            ATTORNEY GENERAL OF WASHINGTON
                                                                                  Civil Rights Division
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 1   States’ residents are also irreparably harmed by depriving them of their constitutional right to
 2   citizenship and all the associated rights and benefits, including: subjecting them to risk of
 3   deportation and family separation; depriving them of access to federal funding for medical care
 4   and eligibility for basic public benefits that prevent child poverty and promote child health; and
 5   impacting their education, employment, and health.
 6          3.      These harms are immediate, ongoing, and significant, and cannot be remedied in
 7   the ordinary course of litigation.
 8          4.      A temporary restraining order against Defendants, as provided below, is
 9   necessary until a hearing on Plaintiff States’ forthcoming motion for a preliminary injunction
10   can be held.
11                                  III.   CONCLUSIONS OF LAW
12          1.      The Court has jurisdiction over Defendants and the subject matter of this action.
13          2.      Plaintiffs’ efforts to contact Defendants reasonably and substantially complied
14   with the requirements of Federal Rule of Civil Procedure 65(b) and Local Civil Rule 65(b).
15          3.      The Court deems no security bond is required under Rule 65(c).
16          4.      To obtain a temporary restraining order, the Plaintiff States must establish (1)
17   they are likely to succeed on the merits; (2) irreparable harm is likely in the absence of
18   preliminary relief; (3) the balance of equities tips in the Plaintiffs’ favor; and (4) an injunction
19   is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); Fed. R.
20   Civ. P. 65(b)(1).
21          5.      Based on the Findings of Fact set forth above and established Supreme Court
22   precedent, there is a strong likelihood that Plaintiffs will succeed on the merits of their claims
23   that the Executive Order violates the Fourteenth Amendment and Immigration and Nationality
24   Act. See United States v. Wong Kim Ark, 169 U.S. 649, 654 (1898); Regan v. King, 49 F. Supp.
25   222, 223 (N.D. Cal. 1942), aff’d, 134 F.2d 413 (9th Cir. 1943), cert denied, 319 U.S. 753 (1943);
26   see also Gee v. United States, 49 F. 146, 148 (9th Cir. 1892).


     [PROPOSED] TEMPORARY                               3              ATTORNEY GENERAL OF WASHINGTON
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 1          6.      The Plaintiff States have also shown that they are likely to suffer irreparable harm
 2   in the absence of preliminary relief. The Executive Order will directly impact Plaintiff States,
 3   immediately increasing unrecoverable costs for providing essential medical care and social
 4   services to States’s residents and creating substantial administrative burdens for state agencies.
 5   The Order also irreparably harms residents of Plaintiff States, depriving them of their
 6   constitutional right to citizenship and all the associated rights and benefits, immediately and
 7   irreparably harming their safety, security, and health.
 8          7.      The balance of equities tips toward the Plaintiff States and the public interest
 9   strongly weighs in favor of entering temporary relief.
10                         IV.     TEMPORARY RESTRAINING ORDER
11          Now, therefore, it is hereby ORDERED that:
12          1.      Defendants and all their respective officers, agents, servants, employees and
13   attorneys, and any person in active concert or participation with them who receive actual notice
14   of this order are hereby fully enjoined from the following:
15                  a. Enforcing or implementing Section 2(a) of the Executive Order;
16                  b. Enforcing or implementing Section 3(a) of the Executive Order; or
17                  c. Enforcing or implementing Section 3(b) of the Executive Order.
18          2.      This injunction remains in effect pending further orders from this Court.
19          3.      Defendants shall remain enjoined until an expedited hearing can be held on the
20   Plaintiff States’ forthcoming motion for a preliminary injunction at ______ a.m./p.m. on _____
21   day of ________ 2025.
22

23          Dated this ____ hour of this       day of January 2025.

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                                                   UNITED STATES DISTRICT JUDGE
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     [PROPOSED] TEMPORARY                              4              ATTORNEY GENERAL OF WASHINGTON
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     [PROPOSED] TEMPORARY                            6           ATTORNEY GENERAL OF WASHINGTON
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